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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 1:14-cv-21385-JAL

    WREAL, LLC, a Florida Limited Liability
    Company,

            Plaintiff,

    v.

    AMAZON.COM, INC., a Delaware
    corporation,

            Defendant.




                         AMAZON’S MOTION FOR SUMMARY JUDGMENT
                           AND SUPPORTING MEMORANDUM OF LAW




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                                         I. INTRODUCTION
           Plaintiff WREAL, LLC (“WREAL”) sells the “FyreTV” pornography pay-per-view

   service and the “Fyre BoXXX,” a device for viewing the FyreTV service. WREAL has

   registered trademarks for “FyreTV” and “FyreTV.com.” In April, 2014, defendant Amazon.com,

   Inc. (“Amazon”) launched the Amazon Fire TV, a set-top box that plugs into a TV and streams a

   variety of general interest content such as ESPN and “Dora the Explorer.” WREAL then filed

   this lawsuit, pursuing a reverse confusion trademark theory: WREAL claims an appreciable

   number of ordinarily prudent consumers will believe Amazon is responsible for WREAL’s

   FyreTV or Fyre BoXXX.

           WREAL moved for a preliminary injunction last September, which gave it the

   opportunity to test this theory in a daylong evidentiary hearing before Magistrate Judge Jonathan

   Goodman. After hearing sworn testimony from fact and expert witnesses and reviewing a

   voluminous documentary record, Magistrate Judge Goodman issued a Report and

   Recommendation recommending denial of WREAL’s motion, concluding unequivocally:

   “[T]here is no likelihood that an appreciable number of consumers will mistakenly believe

   Amazon is responsible for Wreal’s FyreTV or Fyre BoXXX.” ECF No. 130, at 4. The Court then

   adopted this Report and Recommendation and denied WREAL’s motion. ECF No. 177.

           The evidentiary record has changed very little since the preliminary injunction

   proceedings. WREAL’s FyreTV is still a hardcore “porn pay per view” service; the Amazon Fire

   TV is still a general consumer media product that prohibits pornographic apps and content.

   Amazon’s Statement of Undisputed Facts (“SOF”) ¶¶ 1, 26, 32. WREAL still advertises FyreTV

   exclusively on adult websites; Amazon still advertises the Amazon Fire TV through a variety of

   mainstream channels WREAL does not use, such as TV and print media. SOF ¶¶ 14, 15, 37. The

   products are still not available in the same retail outlets. SOF ¶¶ 9, 37, 41. The parties still

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   display the marks in commerce using different words, spellings, colors, and fonts. SOF ¶ 39.

   There is still no survey evidence demonstrating actual confusion: WREAL did not produce a

   survey in its favor between the December 2014 preliminary injunction hearing and the close of

   expert discovery over eight months later, and thus the Court is left with uncontradicted survey

   evidence from both Amazon’s expert and WREAL’s expert affirmatively demonstrating

   confusion is not likely. SOF ¶¶ 47-48. Remarkably, WREAL has gone backward since the

   preliminary injunction proceedings: when WREAL’s expert Dr. Thomas Maronick attempted to

   explain why his surveys showed no confusion, he retreated to the explanation

                                                           – which, if true, means confusion is

   impossible and the case must be dismissed. SOF ¶ 49 (Dr. Maronick testifying that

                                            ). WREAL still can show no damage attributable to

   Amazon’s Fire TV – instead, it is undisputed that



                                          SOF ¶¶ 16-18.

                                       SOF ¶ 51.1 Put simply, no reasonable fact-finder could find

   in WREAL’s favor: there is no likelihood an appreciable number of ordinarily prudent

   consumers will think Amazon is responsible for WREAL’s pornographic FyreTV service or Fyre

   BoXXX product. Amazon is entitled to summary judgment, and the case should be dismissed.

                                              II. FACTS
           WREAL sells a streaming pornography service called “FyreTV,” which WREAL

   describes as “The Ultimate Adult Video On Demand Experience,” a “porn pay per view service,”

   and “the Netflix of Porn.” SOF ¶ 1. WREAL does not believe its use of the “Netflix” mark


   1
    Amazon’s profit on the Amazon Fire TV is highly confidential and commercially sensitive;
   Amazon respectfully asks that the Court redact that information in any publicly filed opinion.

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   infringes any trademarks because it believes Netflix operates in a different market. SOF ¶ 13.

   FyreTV offers exclusively pornographic content, not mainstream movies, and most of its

   offerings are hardcore pornography. SOF ¶ 2. Customers can sign up for a FyreTV account

   exclusively through WREAL’s FyreTV.com website (SOF ¶ 3), which requires visitors to affirm

   they are over 18 and willing to view adult content before they can enter. SOF ¶ 4. Upon entry,

   the viewer immediately sees several rows of highly explicit pornographic images (SOF ¶ 5); the

   “Categories” page offers a further selection of many different lurid pornography genres. SOF ¶ 6.

           WREAL also offers the “Fyre BoXXX,” a set-top box dedicated to streaming

   pornography with the “FyreTV” service. SOF ¶ 7. WREAL has never sold this product at any

   store or through any website other than FyreTV.com. SOF ¶ 9. In October 2012, WREAL

   stopped selling the Fyre BoXXX to new subscribers, only restarting these sales after Amazon

   launched the Amazon Fire TV in April 2014. SOF ¶ 10.

                                                                             SOF ¶ 16. I



                                                         SOF ¶ 17. WREAL cannot identify any actual

   damage – lost set-top box sales, lost business, subscriber cancellations, or anything else – caused

   by Amazon’s Fire TV. SOF ¶ 18. WREAL currently advertises only on adult websites (SOF ¶

   15) to its target market of pornography consumers (SOF ¶ 12): WREAL ended television and

   print advertising and stopped attending trade shows no later than 2012 (SOF ¶ 14).

           Amazon is a Seattle-based company that sells a broad variety of products, including

   through its home page, www.amazon.com. SOF ¶ 19. Amazon started using the “Fire” brand

   with streaming video in 2011, when it introduced the Kindle Fire tablets. SOF ¶ 19. Amazon




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   decided to extend its use of the “Fire” brand with subsequent multimedia products, including the

   Amazon Fire phone, a new generation of tablets, and the Amazon Fire TV. SOF ¶ 22.

           The Amazon Fire TV launched April 2, 2014. SOF ¶ 25. Amazon markets the device as a

   set-top box for general interest media content – “instant access to Netflix, Prime Instant Video,

   WatchESPN,” and more – including selections like “House of Cards” and “Dora the Explorer”

   for video and Pandora for music. SOF ¶ 26. Amazon advertises the Amazon Fire TV’s family-

   friendly features such as the “FreeTime” service, which “revolutionizes parental controls –

   parents can choose what your kids see and set time limits for types of content and times of day.”

   SOF ¶ 27. In October 2014, Amazon launched a smaller version, the “Fire TV Stick,” that plugs

   directly into a television. SOF ¶ 28.2 Amazon advertises its Fire TV products through the

   Amazon.com homepage and through other channels, including television, print media, and in-

   store displays at stores such as Best Buy and Staples. SOF ¶ 37.

           Amazon does not market the Amazon Fire TV or any of the “Fire” devices (such as the

   phone or the tablets) for viewing pornography. SOF ¶ 30. Amazon bought paid internet keyword

   ads for the Amazon Fire TV, but it did not purchase ads for keywords around WREAL’s FyreTV

   name or anything related to pornography. SOF ¶ 31. Amazon prohibits pornographic apps for the

   Amazon Fire TV. SOF ¶ 32. Amazon’s content policies prohibit pornography on Amazon Instant

   Video (which streams to the Amazon Fire TV) and DVDs available on Amazon’s website. SOF ¶

   33. Elizabeth Baicy, an Amazon principal marketing manager, testified at the preliminary




   2
     In September 2015, Amazon announced updated versions of the Amazon Fire TV (adding 4K
   Ultra HD video capability and voice search for information such as weather and sports news) and
   the Amazon Fire TV Stick (adding a voice remote) as well as a new Amazon Fire TV Gaming
   Edition, which comes with a game controller, two included games, and additional storage
   capacity. SOF ¶ 29. For simplicity, this brief refers to all the Amazon Fire TV products
   collectively as “Amazon Fire TV.”

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   injunction hearing that pornography has “never once” come up in many different focus groups on

   consumer perceptions of the Amazon brand. SOF ¶ 36.

           Amazon has received tens of thousands of customer service inquiries about the Amazon

   Fire TV. SOF ¶ 43. Of these thousands of contacts, one customer asked whether he could access

   adult content on Amazon’s Fire TV by spelling “Fire” with a “y,” but this customer did not

   suggest he believed Amazon to be the source of WREAL’s FyreTV. SOF ¶ 44. None of

   WREAL’s 51,000 customers have contacted it about Amazon (other than to ask if WREAL’s

   FyreTV app will be available on Amazon’s Fire TV). SOF ¶ 40.

           Experts for both WREAL and Amazon have conducted consumer surveys for this

   litigation. WREAL’s surveys, conducted by Dr. Thomas Maronick in April 2014, showed “very

   low” levels of consumer confusion. SOF ¶ 48. Amazon’s survey, conducted by Dr. Dan Sarel in

   October and November 2014, showed a confusion rate of one percent, which Dr. Sarel testified

   was “statistically insignificant” and “nonexistent.” SOF ¶ 47.

                                            III. ARGUMENT
           Summary judgment is appropriate when there is no genuine dispute as to any material

   fact and the moving party is entitled to judgment as a matter of law. Rule 56(a). Amazon is

   entitled to summary judgment on WREAL’s Lanham Act claims (Counts I and II) because no

   reasonable fact-finder could find in WREAL’s favor on the required element of likelihood of

   confusion. See Ross Bicycles, Inc. v. Cycles USA, Inc., 765 F.2d 1502, 1503-04 (11th Cir. 1985).

   WREAL’s state-law claims (Counts III-V) are premised on its federal trademark claims and also

   rely on allegations of consumer confusion (ECF No. 177 at 6, ECF No. 1 ¶¶ 75-96; Bageant

   Decl. Ex. 40). Summary judgment is therefore proper on those claims as well. See Custom Mfg.

   & Eng’g, Inc. v. Midway Servs., Inc., 508 F.3d 641, 652 (11th Cir. 2007).



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           As Magistrate Judge Goodman correctly observed (ECF No. 130 at 17), a plaintiff must

   show likelihood of confusion, not a mere possibility of confusion: “[R]ecovery under the

   Lanham Act requires, at a minimum, ‘that confusion, mistake, or deception be ‘likely,’ not

   merely ‘possible.’” Custom Mfg., 508 F.3d at 651 (citation omitted). This means not just the

   speculative possibility that somewhere, at some point, a small number of consumers might be

   confused; rather, a plaintiff must show “a likelihood that an appreciable number of ordinarily

   prudent purchasers are likely to be misled, or indeed simply confused, as to the source of the

   goods in question.” Id. (emphasis added) (quoting New Sensor Corp. v. CE Distribution LLC,

   303 F. Supp. 2d 304, 310-11 (E.D.N.Y. 2004)).

           “Although likelihood of confusion is a question of fact, it may be decided as a matter of

   law.” Tana v. Dantanna’s, 611 F.3d 767, 775 n.7 (11th Cir. 2010). The Eleventh Circuit assesses

   likelihood of confusion using the following factors: “(1) distinctiveness of the mark alleged to

   have been infringed, (2) similarity of the infringed and infringing marks; (3) similarity between

   the goods or services offered under the two marks; (4) similarity of the actual sales methods used

   by the two parties, such as their sales outlets and customer base; (5) similarity of advertising

   methods; (6) intent of the alleged infringer to misappropriate the proprietor’s good will; and (7)

   existence and extent of actual confusion in the consuming public.” Welding Servs., Inc. v.

   Forman, 509 F.3d 1351, 1360 (11th Cir. 2007). Summary judgment is proper even where some

   factors weigh in plaintiffs’ favor.3 The Eleventh Circuit has repeatedly affirmed summary

   judgment for defendants in trademark cases where no reasonable fact-finder could conclude an



   3
     See, e.g., Tana, 711 F.3d at 775-82 (affirming summary judgment for defendant despite
   “conceded similarity between the two marks (factor two)” and “undisputed similarity of the
   parties’ sales methods (factor four)”); Welding Servs., 509 F.3d at 1361 (affirming summary
   judgment for defendant despite “undisputed similarity of services offered, sales methods, and
   advertising methods”).

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   appreciable number of ordinarily prudent consumers were likely to be confused. See, e.g., Tana,

   611 F.3d at 774-82; Custom Mfg., 508 F.3d at 648-52; Welding Servs., 509 F.3d at 1360-61.

   Here, as discussed in more detail below, none of the factors in the likelihood of confusion test

   weigh in WREAL’s favor; rather, all favor Amazon.

   A.      No Reasonable Fact-Finder Could Find Likely Confusion.
           1.         Actual confusion.
           Actual confusion is “the best evidence” and “the most persuasive evidence” of likelihood

   of confusion. Amstar Corp. v. Domino’s Pizza, Inc., 615 F.2d 252, 263 (5th Cir. 1980); Tana,

   611 F.3d at 779. Here, all actual confusion evidence favors Amazon.

                      a. Survey evidence shows no likelihood of confusion.
           The ABA Section of Intellectual Property Law survey treatise describes survey evidence

   as “a standard form of evidence – perhaps the standard form of evidence – on consumer

   perception in cases involving trademarks and deceptive advertising.” Trademark and Deceptive

   Advertising Surveys: Law, Science, and Design 3 (S. Diamond & J. Swann eds., 2012) (Editors’

   Introduction).4 The Court has not one but two sets of surveys – one from Amazon’s expert Dr.

   Dan Sarel, a tenured professor of marketing at the University of Miami School of Business, and

   one by WREAL’s own expert Dr. Thomas Maronick, a former FTC expert in charge of surveys

   in the Bureau of Consumer Protection – concluding the risk of confusion is “very low”

   (Maronick) or “statistically insignificant” at one percent (Sarel). SOF ¶ 47-48.

           WREAL has attempted to rebut this survey evidence in two ways. First, it has pointed to

   what it claims are errors in Dr. Sarel’s survey. However, WREAL’s criticism is entitled to no

   4
     The Eleventh Circuit has rejected the argument that a court may impose a presumption against
   a plaintiff based solely on a failure to produce any survey evidence. See Frehling Enters., Inc. v.
   Int’l Select Grp., Inc., 192 F.3d 1330, 1341 n.5 (11th Cir. 1999)). Amazon does not argue for
   such a presumption; rather, Amazon argues that uncontradicted survey evidence from both sides
   weighs against a finding of likely confusion.

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   weight as WREAL never ran its own survey to show the results would differ after correcting the

   supposed “errors.”5 The confusion level in Dr. Sarel’s survey is so low that it is incredible to

   suggest that WREAL’s proposed changes would lead to a different result.6 In fact, given that

   WREAL’s own expert, Dr. Maronick, conducted different surveys with different questions

   (presumably more to WREAL’s liking) and still found no confusion, the only plausible inference

   is that changing Dr. Sarel’s survey would not affect the results.7 Dr. Maronick admitted as much,

   conceding no survey design would show confusion at present. SOF ¶ 50.

           Second, WREAL now argues Dr. Sarel’s survey and WREAL’s own surveys from Dr.

   Maronick should be disregarded because (WREAL claims)

                                                         Bageant Decl. Ex. 26 at ¶¶ 10-26. This new

   theory contradicts WREAL’s own allegations that Amazon “saturate[d] the marketplace”

   through an “immersive advertising campaign” for the Amazon Fire TV8 and the uncontradicted

   evidence about the scale of Amazon’s advertising starting with the launch in April 2014. SOF ¶

   38. WREAL’s attempt to reverse course and disavow these allegations would be fatal to its case:

   5
     See ECF No. 130 at 38-39 (“As the ABA’s treatise on survey evidence notes, courts do and
   should ignore or give little weight to survey criticisms absent a showing that using the approach
   the critiquing expert believes to be correct would lead to a different result.”).
   6
     See Denimafia, Inc. v. New Balance Athletic Shoe, Inc., 2014 WL 814532, at *21 (S.D.N.Y.
   Mar. 3, 2014) (“Moreover, any argument that a narrower subset of the surveyed universe would
   have returned a markedly different result is weakened significantly by the fact that [the expert’s]
   survey returned zero incidents of confusion.”).
   7
     Dr. Sarel has also responded in detail to the criticisms raised in connection with the preliminary
   injunction proceedings, explaining why none of them have merit. Bageant Decl. Ex. 35 at ¶¶ 21-
   35. Dr Maronick’s newer criticisms appeared only on the last day of expert discovery with no
   opportunity for Dr. Sarel to respond, which is one reason Amazon has sought to exclude Dr.
   Maronick’s September 2015 report as untimely. See ECF No. 201.
   8
     ECF No. 1 at ¶ 33-34. See id. at ¶ 59 (referring to Amazon’s “massive, national advertising
   campaign, encompassing print, television, and internet advertising.”), ¶¶ 30-33 (detailing
   advertising campaign and media coverage); ECF No. 28 at 5-6 (WREAL asserting in preliminary
   injunction brief that Amazon “Saturates the Market with Advertising,” including that Amazon
   Fire TV launch was “extensively covered by the press,” and backed by a “massive” and “highly
   memorable” television advertising campaign).

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   as this Court recognized, “[r]everse confusion occurs when a large junior user saturates the

   market with a trademark similar or identical to that of a smaller, senior user.” ECF No. 177 at 8.

   If WREAL truly wishes to argue

                                                                                     then there can be

   no reverse confusion and the case should be dismissed.9 Dr. Maronick candidly admitted as

   much                                                        SOF ¶ 49.

           This is an extraordinary evidentiary record: surveys by experts from both sides,

   conducted at different times, using independent methodologies, have found no confusion.

   WREAL has been unable to find an expert to validate its speculative confusion theory,10 which

   leaves this survey evidence unrebutted. A leading treatise states no reported case has found

   likelihood of confusion with survey results below 8.5%, far above Dr. Sarel’s one percent

   “statistically insignificant” level.11 The survey evidence from both sides thus weighs strongly in

   favor of an affirmative finding that confusion is not likely.12 Regardless whether there is no

   confusion because                                                       (WREAL’s new theory) or

   because consumers do not believe Amazon is responsible for a pornographic pay-per-view

   service, the result is the same: there is no likelihood of confusion and the case must be dismissed.

   9
      See id.; see also Murray v. Cable Nat’l Broad. Co., 86 F.3d 858, 861 (9th Cir. 1996)
   (dismissing reverse confusion claim because plaintiff “failed to allege sufficient facts to state a
   claim for reverse confusion under the Lanham Act,” including that plaintiff “does not contend
   that [defendant] saturated the market with advertising . . . .”).
   10
       This apparently was not for lack of trying. In early June, WREAL disclosed Dr. Henry
   Ostberg, a survey expert, to Amazon under the protective order – but then, at the expert
   disclosure deadline, WREAL failed to submit any survey from Dr. Ostberg.
   11
       See 6 J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition § 32:188
   (2014) (hereinafter “McCarthy on Trademarks”)
   12
       See McCarthy on Trademarks § 32:189 (survey results below 10% can be affirmative
   evidence that confusion unlikely); see, e.g., IDV N. Am., Inc. v. S & M Brands, Inc., 26 F. Supp.
   2d 815, 829 (E.D. Va. 1998) (“Survey results indicating a low percentage of ‘confused’
   recipients is evidence of the absence of likelihood of confusion.”) (citing McCarthy and
   collecting cases).

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                      b. WREAL’s purported actual confusion evidence does not create a fact issue.
           WREAL has pointed to several types of purported actual confusion evidence, much of

   which this Court and Magistrate Judge Goodman already found did not demonstrate actual

   confusion. ECF No. 177 at 15-17; ECF No. 130 at 32-36. First, WREAL points to an April, 2014

   customer service inquiry where an Amazon customer asks if he can access adult content on

   Amazon’s Fire TV by spelling “Fire” with a “y.” SOF ¶ 44. As this Court found, not only does

   this customer never suggest he thinks Amazon is the source of FyreTV (ECF No. 177 at 15-16),

   even if this inquiry were credited as evidence of actual confusion, it would be de minimis and

   insufficient to avoid summary judgment as Amazon is “a very large corporation with a very large

   customer base. The one customer inquiry that allegedly shows confusion is just one of tens of

   thousands of customer service inquiries.” ECF No. 177 at 16.13

           Second, WREAL has relied on two April 2014 tweets. Bageant Decl. Exs. 38 & 39. The

   Court already found neither tweet showed any actual confusion, specifically noting that the Court

   could not determine whether the authors were actually confused because they did not testify at

   the preliminary injunction hearing. ECF No. 177 at 15. WREAL failed to subpoena the authors

   of these tweets or do anything else in discovery to obtain their testimony, and thus there is still

   no indication these persons were confused.

           Third, WREAL has pointed to communications where its customers ask about accessing

   the FyreTV service on an Amazon Fire TV. Bageant Decl. Ex. 40 at Nos. 6-7. Yet none of these

   communications suggests these customers believe Amazon is responsible for WREAL’s service


   13
      See ECF No. 130 at 33 (“The Eleventh Circuit has repeatedly dismissed occasional instances
   of actual confusion as de minimis, insufficient to raise a triable fact issue . . . on summary
   judgment.”) (citing cases); George & Co. LLC v. Imagination Entm’t Ltd., 575 F.3d 383, 399
   (4th Cir. 2009) (affirming summary judgment for defendants in trademark infringement case;
   four instances of consumer confusion where defendant sold 500,000 products per year was “at
   best de minimis”).

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   any more than their mentioning Google TV suggests they believe Google is responsible for

   FyreTV. To the contrary, they know perfectly well that FyreTV’s pornography pay-per-view

   service is an app separate from various devices (Google TV, Android-enabled devices, etc.) that

   could run it. SOF ¶¶ 40, 44.14

           Fourth, WREAL has suggested it plans to rely on the idea that customers may mistakenly

   go to WREAL’s FyreTV.com website “when looking for Amazon’s Fire TV” as evidence of

   confusion. Bageant Decl. Ex. 40 at No. 6. However, if customers reach WREAL’s website by

   going to firetv.com – a domain WREAL owns, which points to its FyreTV.com site, but a name

   in which WREAL owns no trademark rights – this cannot be evidence of confusion: WREAL’s

   own decision to register the non-trademarked “firetv.com” domain has led customers to its site.

   (And it is not clear how any misdirected traffic would harm rather than benefit WREAL.) In any

   event, WREAL has no evidence such customers are actually confused and believe Amazon is

   responsible for FyreTV.com. To the contrary, such customers will know immediately – from the

   over-18 and willing to view adult content opt-in screen (SOF ¶ 4), from the rows of highly

   explicit porn (SOF ¶ 5), from any number of other cues – that they are not on a general consumer

   website like Amazon’s.15

           2.         Distinctiveness of mark.
           The evidence related to this factor is unchanged since the preliminary injunction

   proceedings. Amazon still often uses its housemark “Amazon” and markets the product as the

   “Amazon Fire TV.” SOF ¶ 24. As the Court previously found, because the parties’ marks are not


   14
      One customer even speculates that WREAL might benefit from any potential confusion
   through a “domain name sale” and says explicitly: “I know it [the Amazon Fire TV] is NOT
   related to you guys.” SOF ¶ 40.
   15
      See Royal Palm Props., LLC v. Premier Estate Props., Inc., 2010 WL 1524720, at *7 (S.D.
   Fla. Apr. 15, 2010) (evidence of customers “misdirected” to another’s website “is not evidence
   of actual confusion as the consumers knew they were on a competitor’s website”).

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   identical, “the use of Amazon’s housemark next to its Fire TV mark, spelled and styled

   differently than FyreTV, could help distinguish the products.” ECF No. 177 at 10.

           3.         Similarity of mark.
           The facts related to this factor also have not changed since the preliminary injunction

   proceedings. The Court already affirmed Magistrate Judge Goodman’s conclusion that “the

   marks themselves are different because Wreal’s FyreTV is one word, not two like Amazon’s Fire

   TV, and FyreTV uses a unique and stylized font and different colors than Amazon’s Fire TV

   mark.” ECF No. 177 at 11; SOF ¶ 39. In addition, the “Fire” portion of the marks is spelled

   differently and Amazon often uses “Amazon” next to “Fire TV,” where WREAL does not. SOF

   ¶ 39. The Court also affirmed Magistrate Judge Goodman’s conclusion that the marks’ overall

   impression based on their use in commerce is different because:

                      “Amazon’s Fire TV appears on Amazon’s website, an Amazon-branded
                      marketplace with other Amazon-branded products, such as the Kindle
                      Fire, in a general consumer environment free from pornography.” (D.E.
                      130 at 20 (citing [Bageant Decl. Ex. 19] Pl.’s Ex. 6).) Whereas, Wreal’s
                      FyreTV is available only to consumers who verify that they are over
                      eighteen years old and are willing to view adult content. Furthermore,
                      once customers verify their age, they are directed to a website that
                      exclusively contains pornographic brands.

   ECF No. 177 at 11.

           WREAL has previously raised two arguments in response. First, WREAL stresses

   similarity of sound, which WREAL argues is particularly important because, it claims, it relies

   heavily on “word of mouth” advertising. ECF No. 132 at 6. Yet this Court already rejected that

   argument: “The fact that there are some similarities does not raise the issue to one of substantial

   confusion.” ECF No. 177 at 11.16 Courts in the Eleventh Circuit have repeatedly refused to find


   16
     This case differs from E. Remy Martin & Co., S.A. v. Shaw-Ross Int’l Imports, Inc., 756 F.2d
   1525, 1531 (11th Cir. 1985), where WREAL argues aural similarity was particularly important
   because customers typically purchased Remy Martin cognac by asking for a glass of “Remy.” Id.

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   similarity even between phonetically identical or nearly identical marks where their overall

   impression in commerce is distinctly different.17

           Second, WREAL has argued that – for some users at some times – the Amazon Fire TV

   may appear on the same page as adult-oriented images in the “Related to Items You’ve Viewed”

   section of Amazon’s homepage if the user had previously searched for adult products. ECF No.

   83 at 9; Bageant Decl. Ex. 41. As an example, WREAL points to a page that Rodrigo Franco,

   WREAL’s Chief Operating Officer, generated for the preliminary injunction hearing (the page

   says “Hello Rodrigo” at the top right) by searching for adult magazines sold by third-party

   sellers on Amazon’s website. Bageant Decl. Ex. 41; id. Ex. 2 at 98:15-25. To begin with,

   WREAL has provided no evidence that any appreciable number of Amazon consumers have

   search histories similar to Mr. Franco’s, such that they would see something similar to Mr.

   Franco’s page. Even Mr. Franco’s created-for-litigation example shows the significant difference

   in the parties’ use of the marks in commerce. Mr. Franco’s Amazon page still has mainstream

   consumer content: advertisements for headphones, shoes, a toy fire truck, barbells, and Direct

   TV. Id. Ex. 41. WREAL’s FyreTV.com homepage, by contrast, has no mainstream content at all

   – just row after row of highly graphic pornographic imagery. SOF ¶ 5.



   No evidence suggests prospective customers can purchase WREAL’s FyreTV by simply saying
   the name out loud. Rather, the uncontradicted evidence is that FyreTV is only available to
   customers who first sign up for an account on WREAL’s website (SOF ¶ 3), where they will
   confront the “FyreTV” mark as it is actually used in commerce, alongside a barrage of images
   from hardcore pornography. SOF ¶ 5.
   17
      See Amstar, 615 F.2d at 261 (reversing as clearly erroneous trial court’s finding of likelihood
   of confusion between “Domino” and “Domino’s” based on the “total effect” of their use in
   commerce); Sun Banks of Fla., Inc. v. Sun Fed. Savings & Loan Assoc., 651 F.2d 311, 317-18
   (5th Cir. 1981) (reversing as clearly erroneous trial court’s finding of likelihood of confusion;
   two “Sun” bank names with orange colors were presented differently in commerce); Tiger
   Direct, Inc. v. Apple Computer, 2005 WL 1458046, at *16 (S.D. Fla. May 11, 2005) (two uses of
   the word “Tiger” for computer-related products found to be dissimilar based on the marks’
   overall impression).

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           4.         Similarity of the goods or services.
           The Court previously found the products to be different: “Wreal’s FyreTV is in the

   market of streaming pornographic content. Amazon Fire TV is expressly not in the market of

   streaming pornographic content.” ECF No. 177 at 12. WREAL has raised several arguments on

   this factor. First, WREAL has argued the products are similar at general levels, such as that

   “[b]oth services are delivered through a set-top box,” and both “stream[] video from a wide

   variety of content providers.” ECF No. 132 at 7. But the Eleventh Circuit has repeatedly held

   general similarities are not sufficient for the products to be “so similar as to be likely to cause

   confusion.” Ross Bicycles, Inc., 765 F.2d at 1507.18

           Second, WREAL has claimed “mainstream and adult content are complementary and

   often are put out by the same source,” arguing Comcast and major hotel chains offer both types

   of content. ECF No. 132 at 8-9. But the relevant inquiry is not whether some entities offer the

   two different products, as that argument could be constructed in plenty of cases.19 Rather, the

   inquiry is “whether the goods are so related in the minds of consumers” that they are likely to be

   confused. Tiger Direct, 2005 WL 1458046, at *17 (emphasis added). In Sunenblick v. Harrell,

   895 F. Supp. 616 (S.D.N.Y. 1995), for example, jazz and hip-hop records with competing

   “Uptown Records” marks were sold in the very same stores. Id. at 629. Yet the court held this

   did not suffice to show similarity in products because consumers did not think the goods were

   related: the two sets of records were “not sold side-by-side; rather, they are featured in different

   18
      The Eleventh Circuit has recognized this principle many times: Two different bicycles share
   an “inherent degree of similarity,” but also have “obvious differences” such that consumers were
   not likely to confuse the two (Ross Bicycles, Inc., 765 F.2d at 1507); pizza and sugar are “both
   edible” but still don’t share “any great similarity” (Amstar, 615 F.2d at 261); two “fine-dining
   establishments serving meat and fish” are not similar products because they are “strikingly
   dissimilar” in ambiance, style of food, and décor (Tana, 611 F.3d at 777-78).
   19
      For example, the plaintiffs in Amstar could have argued that large food conglomerates offer
   both pizza and sugar; the plaintiffs in Ross could have argued that many bike manufacturers
   make more than one style of bike.

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   sections of the stores in which they were sold, according to genre and not by label name.” Id.

   Here, WREAL has offered no evidence that substantial numbers of consumers in fact believe

   that “Dora the Explorer” and ESPN so are related to the graphic, hardcore content offered on

   FyreTV.com that they are likely to be confused: no expert in consumer psychology or marketing,

   no focus group results, no survey of consumer attitudes.

           WREAL has attempted to shore up this argument with a report from its expert Dr. Linda

   Williams, a professor of film studies at the University of California, Berkeley, who has opined

   there is no “clear boundary” between hardcore pornography and other erotic content because the

   genre’s “conventions” are in “constant flux.” Bageant Decl. Ex. 42 at ¶¶ 1(c), 14-15. The

   Sunenblick plaintiffs tried a similar argument, claiming the existence of the genre of “fusion”

   jazz demonstrated hip-hop and jazz were “not entirely separate.” Sunenblick, 895 F. Supp. at

   629. The court rejected this argument, noting any crossover in the genres didn’t go to the

   relevant inquiry: it didn’t establish whether “consumers of one genre . . . have become

   consumers of the other,” particularly as the products were “marketed differently and still sold in

   separate sections of record stores.” Id. This is exactly the situation here: there may be a academic

   sense in which mainstream content like R-rated movies and hardcore pornography are “related,”

   but that does not go to whether consumers perceive them as so similar that they are likely to be

   confused. In the marketplace, hardcore pornography and R-rated movies are obviously very

   different and marketed to consumers in very different ways. SOF ¶¶ 45-46.20 Dr. Williams in fact

   agrees that consumers are not likely to confuse two sites with such different content:



   20
      Amazon’s expert Dr. Peter Lehman has provided an expert opinion supporting what is clearly
   true: “a hard-core pornography site looks and feels different to a viewer than does a mainstream
   retail website like www.walmart.com, www.bestbut.com [sic], or www.amazon.com.” Bageant
   Decl. Ex. 33 at ¶ 21; SOF ¶ 46. Hardcore sites like FyreTV.com – or FyreTV’s competitors, such
   as Pornhub, YouPorn, RedTube, Spankwire, and others – “share a dominant look featuring rows

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                      Q. Do you agree that the visitor of the portal of a hardcore website like
                      FyreTV.com is unlikely to think they are visiting a mainstream website
                      that does not sell hardcore pornography?

                      A. I agree that they would not confuse the two.

   Bageant Decl. Ex. 24 at 164:9-14; see also SOF ¶ 45 (citing id. at 41:3-10 (agreeing that printout

   of Amazon’s home page looks “different than a typical page of Fyre, F-Y-R-E.”)).

           Third, WREAL has scoured Amazon’s website to try to find the closest items to

   pornography WREAL can locate – for example, an allegedly pornographic DVD introduced at

   the preliminary injunction hearing sold by “Italian Objects,” a third-party seller, through

   Amazon’s website. ECF No. 130 at 25-26. However, the Court has already held that DVDs (or

   sex toys) sold on Amazon’s website are not relevant: “[W]hether Amazon.com lists sex toys or

   DVDs for sale is not relevant to whether Amazon’s Fire TV mark is confusingly similar to

   Wreal’s FyreTV to the point that Wreal’s porn-streaming consumers would think that

   Amazon.com is the actual provider of FyreTV.” ECF No. 176 at 2. Instead, the “truly pertinent

   issue” is “whether Amazon’s Fire TV product offers any semblance of pornographic streaming,

   like FyreTV.” ECF No. 177 at 12. And here, WREAL’s evidence falls far short: WREAL has

   never produced any evidence that a substantial volume of hardcore pornography is available for

   streaming on Amazon’s Fire TV, and in fact Amazon goes to great lengths to keep pornography




   of videos with graphic hard-core screen captures showing such things as erections and
   penetration,” (Bageant Decl. Ex. 33 at ¶ 21), their “categories” and film titles are themselves
   obviously hardcore pornography. Id.; SOF ¶ 46. Mainstream sites such as Wal-Mart, Best Buy,
   or Amazon’s homepage do not have these features that would lead a visitor to believe they are
   entering a pornography site. Id.; SOF ¶ 46.

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   off the Amazon Fire TV, with its content policy prohibiting pornography from streaming through

   Amazon Instant Video and its policy prohibiting pornographic apps. SOF ¶¶ 32-33.21

           WREAL notes that Showtime and HBO (available on Amazon’s Fire TV) offer some

   adult-oriented content. ECF No. 85 at 8.22 However, experts from both sides as well as

   WREAL’s Rodrigo Franco agree: hardcore pornography is its own category, very different from

   other adult content, even so-called “soft-core” pornography that might be available on premium

   cable channels such as Showtime or HBO. SOF ¶ 45.23 WREAL has presented no evidence that

   appreciable numbers of consumers believe the existence of adult content on Showtime and HBO

   – a tiny fraction of the total content available on the Amazon Fire TV – makes the total Amazon

   Fire TV content so similar to WREAL’s exclusively pornographic content that they are likely to

   be confused.

           5.         Similarity of sales outlets and customer base.
           This factor strongly favors Amazon: WREAL has conceded the products are not sold at

   the same sales outlets. SOF ¶ 9. The Court has already rejected WREAL’s argument that the

   target audiences are similar because WREAL claims it “targets the type of customers that


   21
      In fact, customer reviews often note that the Amazon Instant Video titles WREAL claims are
   pornographic are in fact not pornographic. See, e.g., Bageant Decl. Ex. 43 (“DO NOT
   PURCHASE if you are looking for an adult movie”); id. at 28 (“Not really an XXX movie.”).
   22
       “Adult content” can mean nothing more than R-rated movies or other non-pornographic
   content not suitable for children, as when one Amazon employee wrote to another about how his
   “kids are particularly taken” with the Amazon Fire TV but the employee wanted to “explore the
   parental controls a bit” because of the “large amount of adult content apparently” available.
   Bageant Decl. Ex. 44 (AMZN 0105773). The recipient understood this email to refer not to
   pornography but rather to content that simply was not appropriate for the author’s children.
   Bageant Decl. Ex. 18 at 215:13-216:8.
   23
       As WREAL’s Mr. Franco testified: “Q. What about a difference between hard core
   pornography and soft core pornography; is that a distinction that means something to you, and if
   so, what is it? A. There are different types of categories of adult content. There are different
   breakdowns. Usually, soft core is something that shows maybe just a naked woman or a male.
   Hard core would be something that shows more of sexual intercourse happening.” Bageant Decl.
   Ex. 32 at 10:24-11:8.

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   purchase explicit material from Amazon’s website, such as sex toys and pornographic DVDs.”

   ECF No. 177 at 12. As the Court held, the relevant fact is that “Amazon does not target

   individuals in the market to stream pornography” (id.), which is still true (SOF ¶ 30).24

           6.         Similarity of advertising.
           As the Court found: “The Magistrate Judge properly concluded that Amazon uses its

   homepage, national television, and print; whereas, Wreal advertises on adult-oriented websites.”

   ECF No. 177 at 13. This is still true. SOF ¶¶ 15 ,37.

           7.         Intent.
           The Eleventh Circuit has not yet decided whether the intent inquiry should differ in a

   reverse confusion case from the typical intent inquiry, which asks whether the alleged infringer

   intended “to misappropriate the proprietor’s good will.” Welding Servs., 509 F.3d at 1360.25 Yet

   under any standard – even WREAL’s suggested “carelessness” standard – Amazon had no

   nefarious intent. As the Court previously concluded: “Though Amazon knew of Wreal’s FyreTV

   mark, it understood the differences between their products and markets, and used different

   spelling and styles to create their own mark to stream non-pornographic materials. There is no

   evidence of intent to confuse Wreal’s potential customers, or a careless disregard for potential

   confusion.” ECF No. 177 at 14. To the contrary, Amazon chose the “Fire” brand as a logical


   24
      WREAL has argued its customer base should be considered similar because FyreTV is
   available on Roku and Amazon considers Roku to be a competitor to Amazon’s Fire TV, so “to
   the extent that Amazon targets Roku users, it also targets WREAL’s users.” ECF No. 132 at 10-
   11. However, to the extent that Roku users are attracted to the product because of its
   pornographic offerings such as FyreTV, they are most definitely not part of Amazon’s marketing
   strategy for the Amazon Fire TV because (unlike Roku) Amazon prohibits pornographic apps for
   the Amazon Fire TV and prohibits streaming pornography for the Amazon Fire TV. SOF ¶ 32.
   25
      Other courts of appeals have dealt with this question in varying ways: the Seventh Circuit held
   intent is “essentially irrelevant” to reverse confusion (Sands, Taylor, & Wood Co. v. Quaker Oats
   Co., 978 F.2d 947, 961 (7th Cir. 1992)); the Third Circuit held the test is whether the junior user
   acted with “deliberate intent to push the senior user out of the market” (Freedom Card Inc. v.
   JPMorgan Chase & Co., 432 F.3d 463, 479 (3d Cir. 2005)).

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   extension of its previous use of “Fire” for streaming video since 2011, when it introduced the

   Kindle Fire tablets with streaming video capability. SOF ¶¶ 20-23. The Eleventh Circuit’s

   reasoning regarding intent in a forward confusion case is applicable here: “Where a story of the

   creation of a mark is undisputed and shows an innocent origin, we have concluded that there is

   no intent of misappropriation contributing to a likelihood of confusion.” Tana, 611 F. 3d at 779.

   B.      No Reasonable Fact-Finder Could Find WREAL Has Sustained Damages or
           Amazon Has Recoverable Profits.
           This Court found WREAL had demonstrated no damages as of the preliminary injunction

   proceedings. ECF No. 177 at 18. WREAL has not improved its evidentiary record: WREAL did

   not designate any expert witness to calculate damages. Amazon’s expert Patrick F. Gannon,

   CPA, has conducted an analysis of WREAL’s financials demonstrating WREAL has no

   damages: to the contrary,

                                                                           SOF ¶ 17.

           WREAL has claimed its damages are evident in various documents that deal with how

   WREAL’s FyreTV appears in search results. Bageant Decl. Ex. 40 at No. 16. WREAL’s

   argument is apparently that Amazon’s launch of Amazon Fire TV moved WREAL’s FyreTV

   down in the results that various search engines show for queries for “Fire TV.” Yet this argument

   does not provide sufficient evidentiary basis for a reasonable fact-finder to calculate damages.

   First, WREAL does not have any trademark rights in the terms “Fire TV,” or “FireTV” and thus

   search behavior based on those terms has no relevance to WREAL’s damages. Second, WREAL

   has made no effort to quantify any damage from this alleged change in search engine result

   placement. Damages must be calculated with reasonable certainty; they cannot be based on




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   speculation and guesswork.26 Here, WREAL has submitted no expert analysis that could form

   the basis for a jury’s computation of damages.



                                                      See 15 U.S.C. § 1117(a)(1). Amazon’s expert Mr.

   Gannon has explained                                (SOF ¶ 51). For the reasons explained in more

   detail in Amazon’s motion to exclude WREAL’s expert Dr. Jesse David and incorporated by

   reference here, WREAL’s attempt to show the contrary is speculative and could not serve as the

   basis for a profits award: among other failings,

                                                                       (SOF ¶ 52) and thus any profits

   award would be based on pure speculation.

                                           IV. CONCLUSION
           For the foregoing reasons, Amazon respectfully requests that the Court grant summary

   judgment in Amazon’s favor and dismiss this action.

                                     V. REQUEST FOR HEARING
           Amazon respectfully requests a hearing, not to exceed one hour, on its motion for

   summary judgment. Oral argument may help demonstrate that the material facts in this case are

   not in dispute.




   26
     See, e.g., Fishman Transducers, Inc. v. Paul, 684 F.3d 187, 194-96 (1st Cir. 2012) (plaintiffs’
   fact and expert testimony related to damages in trademark case properly excluded where they
   would create “merely a basis of jury speculation” because they did not provide “some means” for
   the jury to “make a reasonable estimate” of damages).

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   Dated: October 13, 2015            Respectfully submitted,



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